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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


 UNITED STATES OF AMERICA                                        CASE NO.
                                                               2:16 - CR - 378
 v.

                                                               MOTION FOR
 MICHAEL SLAGER                                                 RECUSAL



      COMES NOW, the Defendant, by and through his undersigned attorney, hereby moves
the court pursuant to 28 U.S.C. § 144 and 28 U.S.C. § 455, requesting that Judge David
Norton recuse himself from the present case. In support, the Defendant respectfully shows
as follows.
      28 U.S.C. § 455(b)(1) requires a judge to disqualify himself “[w]here he has a personal
bias or prejudice concerning a party, or personal knowledge of disputed evidentiary facts
concerning the proceeding.” (emphasis added). Slager’s 28 U.S.C. § 2255 motion and
memorandum allege as follows:
                C. Meeting with Presiding Judge
                At some point prior during the pendency of Slager’s federal
                case, members of the defense team met with the presiding
                judge in chambers to discuss matters relating to their C.J.A.
                appointment. (A. Savage Decl., ¶¶14-15; C. Savage Decl.,
                ¶¶7-8; McCune Decl., ¶¶2-4). Because this meeting dealt
                with C.J.A. funding matters, it was ex-parte. Defense
                counsel were aware at this point that the judge had reviewed
                transcripts of Slager’s state court trial, and had attended
                portions of the state court trial, and he was therefore familiar
                with the details of the case. During this meeting the judge,
                unprompted by anything said or asked by counsel, expressed
                his opinion that “this is not a murder case.” (A. Savage Decl.,
                ¶¶14-15; C. Savage Decl., ¶¶7-8; McCune Decl., ¶¶2-4). The
                attorneys understood this comment to mean that the judge
                believed that Slager’s conduct constituted voluntary
                manslaughter, involuntary manslaughter, or even possibly a
                lesser offense. Based on this statement by the judge, the
                defense team did not believe that the judge would apply the
                murder cross-reference under the Guidelines.



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(ECF 175, p. 6). This allegation falls squarely within the language of 28 U.S.C. § 455(b)(1)
which calls for recusal when the presiding judge has “personal knowledge of disputed
evidentiary facts concerning the proceeding.” Resolution of Slager’s 2255 motion will
require the district court judge to sit as fact-finder regarding the credibility of witnesses
who make the above-stated claims. This is simply not possible unless the 2255 proceedings
are handled by a separate district court judge, with no prior knowledge of the allegations
in Slager’s motion.
       In conclusion, Slager respectfully moves this court to recuse present Judge David
Norton, and that the case be reassigned to another Judge.

                                              RESPECTFULLY SUBMITTED,


                                              s/ Christopher R. Geel
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August 18, 2020                               Chris@GeelLawFirm.com




                             CERTIFICATE OF SERVICE

    I hereby certify that I electronically filed the foregoing with the Clerk of the Court for
the District of South Carolina by using the CM/ECF system. Participants in the case who
are registered CM/ECF users will be served by the CM/ECF system.

                                              s/ Christopher R. Geel
                                              Christopher R. Geel (#12432)




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